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15                                   UNITED STATES DISTRICT COURT
16                                 NORTHERN DISTRICT OF CALIFORNIA
17                                        SAN FRANCISCO DIVISION
18   NATIONAL TPS ALLIANCE, et al.,
                                                         Case No. 3:25-cv-1766-EMC
19
                 Plaintiff,
20          v.
                                                         INDEX OF ADMINISTRATIVE RECORD
21   KRISTI NOEM, in her official capacity as            VENEZUELA VACATUR
     Secretary of Homeland Security, et al.,
22
                 Defendants.
23

24

25         Defendants in the above-captioned matter hereby file the Administrative Record for the
     Venezuela Vacatur.1 The Administrative Record includes the following documents:
26
            1
27           The filing of this Administrative Record is not a concession that the decision of Secretary Kristi
     Noem is subject to judicial review.
28
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 1

 2                         Index of Administrative Record – Venezuela Vacatur
 3
                    Document Name                                                                 Page(s)
 4            1.    Federal Register Notice of Vacatur of Temporary Protected Status              0001-0003
                    Decision for Venezuela (Feb. 3, 2025).
 5
              2.    Decision Document–USCIS Notice: Determination re Venezuela’s 2023             0004
 6                  Temporary Protected Status Designation (Feb. 1, 2025)
 7            3.    Decision Document–USCIS Notice: Vacatur of the 2025 Temporary                 0005
                    Protected Status Designation for Venezuela (Jan. 28, 2025).
 8            4.    USCIS Vacatur of 2025 Temporary Protected Status Decision for                 0006-0013
                    Venezuela (2025).
 9            5.    Matter of Dhanasar, 26 I&N Dec. 884 (Dec. 27, 2016).                          0014-0024
10            6.    El Pais: Venezuela calls on retired teachers to return to school amid staff   0025-0033
                    shortages (Oct. 10, 2024).
11
              7.    El Pais: Venezuela grapples with economic collapse (Jan. 17. 2025).           0034-0042
12
              8.    Executive Order 14150: America First Policy Directive to the Secretary        0043
13
                    of State (Jan. 20, 2025).
14            9.    Associated Press: Tren de Aragua gang started in Venezuela’s prisons          0044-0051
                    and now spreads fear in the U.S. (Sep. 24, 2024).
15            10.   Associated Press: U.S. sanctions a Venezuela gang for spreading               0052-0058
                    criminal activity across Latin America (Jul. 11, 2024).
16            11.   In re D-J-, 23 I&N Dec. 572 (Apr. 17, 2003).                                  0059-0072
17            12.   Congressional Research Service–Venezuela: Political Crisis and U.S.           0073-0075
                    Policy (Jan. 13, 2025).
18            13.   Federal Register Notice: Designation of Venezuela for Temporary               0076-0083
                    Protected Status and Implementation of Employment Authorization for
19                  Venezuelans Covered by Deferred Enforcement Departure
                    (Mar. 9, 2021).
20
              14.   Executive Order 14159: Protecting the American People Against                 0084-0089
21                  Invasion (Jan. 20, 2025).
              15.   Executive Order 14157: Designating Cartels and Other Organizations as         0090-0091
22                  Foreign Terrorist Organizations and Specially Designated Global
                    Terrorists (Jan. 20, 2025).
23            16.   Federal Register Notice: Extension and Redesignation of Venezuela for         0092-0101
24                  Temporary Protected Status (Oct. 3, 2023).
              17.   Federal Register Notice: Extension of the 2023 Designation of                 0102-0113
25                  Venezuela for Temporary Protected Status (Jan. 17, 2025).
              18.   Federal Register Notice: Extension of the Designation of Venezuela for        0114-0122
26                  Temporary Protected Status (Sep. 8, 2022).
              19.   Federal Register Notice: Implementation of a Parole Process for               0123-0133
27
                    Venezuelans (Oct. 19. 2022).
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 1            20. Federal Register Notice: Implementation of Changes to the Parole          0134-0137
                  Process for Venezuelans (Jan. 9, 2023).
 2            21. InSight Crime: Tren de Aragua (Jul. 12, 2024).                            0138-0144
 3            22. InSight Crime: Why Is Venezuela’s Crime Rate Falling?                     0145-0148
                  (May 28, 2024).
 4            23. Inter-American Commission on Human Rights Annual Report 2023:             0149-0193
                  Chapter IV.B: Venezuela (2023).
 5            24. Letter From Secretary of State Antony J. Blinken to Alejandro             0194-0205
                  Mayorkas (Sep. 24, 2024).
 6
              25. National Public Radio: Why Venezuela is no longer in freefall             0206-0222
 7                (May 8, 2024).
              26. Situation of human rights in Bolivarian Republic of Venezuela – Report    0223-0227
 8                of the United Nations High Commissioner for Human Rights
                  (Jul. 1, 2024)
 9            27. Pan American Health Organization: Venezuela – Country Profile             0228-0234
10                (Sep. 24, 2024)
              28. Refugee and Migrant Response Plan 2021 – For Refugees and Migrants        0235-0253
11                From Venezuela (2021).
              29. Federal Register Notice: Reconsideration and Recission of Termination     0254-0266
12                of the Designation of El Salvador for Temporary Protected Status ;
                  Extension of the Temporary Protected Status Designation for El
13
                  Salvador (Jun. 21, 2023).
14            30. Reuters: Venezuela inflation has cooled but voters say they still can’t   0267-0279
                  make ends meet (Jul. 23, 2024).
15            31. Federal Register Notice: Six-Month Extension of Temporary Protected       0280-0285
                  Status Benefits for Orderly Transition Before Termination of Liberia’s
16                Designation for Temporary Protected Status (Sep. 26, 2016).
17            32. Federal Register Notice: Termination of the Designation of Sierra Leone   0286-0289
                  Under the Temporary Protected Status Program; Extension of
18                Employment Authorization Documentation (Sep. 3, 2003).
              33. Federal Register Notice: Termination of Designation of Liberia Under      0290-0292
19                Temporary Protected Status Program After Initial 6-Month Extension
                  (Mar. 31, 1998).
20
              34. Federal Register Notice: Termination of Designation of Angola Under       0293-0294
21                the temporary Protected Status Program (Jan. 27, 2003).
              35. Federal Register Notice: Termination of Designation of Lebanon Under      0295-0297
22                Temporary Protected Status Program (Feb. 8. 1993).
              36. Federal Register Notice: Termination of the Designation of El Salvador    0298-0304
23                for Temporary Protected Status (Jan. 18, 2018).
24            37. Federal Register Notice: Termination of the Designation of Sudan for      0305-0311
                  Temporary Protected Status (Oct. 11, 2017).
25            38. The Cost of the Border Crisis: Testimony Before the House Budget          0312-0314
                  Committee (May 8, 2024).
26            39. The Fiscal Burden of Illegal Immigration on U.S. Taxpayers (2023).        0315-0405
              40. Press Statement from Marco Rubio: Priorities and Mission of the           0406-0408
27
                  Second Trump Administration’s Department of State (Jan. 22, 2025).
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 1            41. UNHCR: Venezuela Situation Global Focus (2024).                        0409-0411
              42. Venezuelan Observatory of Violence Social Sciences Laboratory          0412-0442
 2                Annual Report (2023).
 3            43. El Pais: Venezuela experiences an economic recovery in times of        0443-0454
                  electoral uncertainty (Jul. 22, 2024).
 4            44. Associated Press: Major power outage hits Venezuela’s capital, with    0455-0459
                  Maduro government blaming ‘sabotage’ (Aug. 30, 2024).
 5            45. The Persistence of the Venezuelan Migrant and Refugee Crisis           0460-0467
                  (Nov. 27, 2023).
 6
              46. Decision Document–USCIS Notice: Extension of the 2023 Designation      0468
 7                of Venezuela for Temporary Protected Status (Jan. 10, 2025).
              47. Proclamation 10886: Declaring a National Emergency at the Southern     0469-0471
 8                Border of the United States (Jan. 20, 2025).
              48. USCIS RAIO TPS Considerations: Bolivarian Republic of Venezuela        0472-0502
 9                (2025).
10            49. Hunger, healthcare, and schools: Reasons to leave Venezuela (along     0503-0517
                  with a Maduro poll win) (Jun. 25, 2024).
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 1 Dated: April 7, 2025                        Respectfully submitted,

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